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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA


                                        MEMORANDUM



Honorable Morrison C. England Jr.              RE: Daljit Kaur Sangha
Chief United States District Judge                 Docket Number: 0972 2:13CR00006-003
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


Daljit Kaur Sangha is requesting permission to travel to Kandhali and Nabarangpur India. Daljit
Kaur Sangha is current with all supervision obligations, including consistent restitution payments
of $200 per month. Her sister will arrange for all traveling expenses so as not to interfere with
Ms. Sangha’s restitution payments. The probation officer recommends approval be granted.


Conviction and Sentencing Date: On May 22, 2014, Daljit Kaur Sangha was sentenced for the
offense(s) of 18 USC 1341 – Mail Fraud (Class C Felony).


Sentence Imposed: Thirty six months (36) probation. Special conditions included warrantless
search, financial disclosure and restrictions, $100 special assessment, and $44,613.88 restitution.


Dates and Mode of Travel: March 12, 2016 to April 12, 2016. Airline tickets will be secured
upon approval of this travel request.


Purpose: To visit with family and attend a family wedding.




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                                                                                                  REV. 06/2015
                                                                   TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Daljit Kaur Sangha
         Docket Number: 0972 2:13CR00006-003
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,
                                        /s/ Michael A. Sipe

                                         Michael A. Sipe

                          Supervising United States Probation Officer


Dated:    January 12, 2016
          Roseville, California




                                  ORDER OF THE COURT

          ☒     Approved          ☐      Disapproved




Dated: January 14, 2016




                                                2
                                                                                               REV. 06/2015
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
